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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,

             Plaintiff,

       vs.
                                           Case No. 1:18-cr-00258-EJL
PAVEL BABICHENKO,
GENNADY BABITCHENKO,
PIOTR BABICHENKO,
TIMOFEY BABICHENKO,                        GOVERNMENT’S
KRISTINA BABICHENKO,                       MOTION FOR PROTECTIVE
NATALIE BABICHENKO,                        ORDER
DAVID BIBIKOV,
ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

             Defendants.




      The United States of America, by and through, Bart M. Davis, United States

Attorney for the District of Idaho, and the undersigned Assistant United States

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Attorney for the District of Idaho, hereby seeks an order, pursuant to Rule 16(d)(1)

of the Federal Rules of Criminal Procedure, for a protective order regarding the

disclosure of unredacted discovery in this case.

      This Court has discretionary authority to enter protective orders regarding

discovery pursuant to Rule 16, which states, “[a]t any time the court may, for good

cause, deny, restrict, or defer discovery or inspection, or grant other appropriate

relief.” Fed. R. Crim. P. 16(d)(1). Accordingly, a “trial court can and should, where

appropriate, place a defendant and his counsel under enforceable orders against

unwarranted disclosure of the materials which they may be entitled to inspect.” See

Alderman v. United States, 394 U.S. 165, 185 (1969). The movant bears the burden

of establishing “good cause” for the requested protective order. See United States v.

Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015).

      Presently, the government requests that the discovery be protected for the

following reasons:

             1.      Counsel for the defendants will need an unredacted copy of the

                     discovery in this case to aid their investigation and their defense

                     of this case; all defendants are charged with sophisticated

                     intellectual-property violations and money-laundering violations

                     involving the movement of funds among hundreds of bank

                     accounts.

             2.      The discovery in this case is voluminous. Currently, the

                     discovery includes over 300,000 pages; additionally, the United



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               States anticipates the production of a least one Terabyte of

               discovery, based on the execution of the search warrants on

               August 22, 2018.

         3.    Currently, the discovery includes sensitive documents such as

               personal financial information on numerous individuals,

               including unindicted co-conspirators and victims in this case;

               reports of confidential sources; audio/video recordings of

               controlled buys; sensitive bank records of the defendants and

               unindicted coconspirators, which contain personal identifiers,

               such as addresses, that are critical to identify the accountholder;

               victim-purchasers’ e-mails; trademark holder reports regarding

               identification of counterfeit material; and U.S. Customs and

               Border Protection (“CBP”) reports on customs seizures.

         4.    The government recognizes its duty to provide discovery to the

               defense in a timely manner. The government wishes to

               accommodate the needs of defense counsel, while simultaneously

               meeting its obligation to protect the personal information and

               privacy of the third parties and victims. The government

               believes that both objectives may be met by a protective order

               restricting dissemination of the unredacted discovery to defense

               counsel, investigators, and those necessary to the defense.




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      The government, therefore, requests a protective order including in substance

the following:

      1.      The government may produce unredacted material in discovery to the

              defense, including personal identifying information of the defendants

              and other individuals. These records contain, among other

              information, home addresses, bank account data, and dates of birth.

              All materials that the government produces to the defense are solely

              for the use of the defendant, their respective attorney, or other

              individual or entities acting within the attorney-client relationship to

              prepare for the trial in this case. The purpose of this protective order

              is to prevent the unauthorized dissemination, distribution, or use of

              materials containing the personal information of others.

      2.      Defendants and their attorneys, and all other individuals or entities

              who receive materials in this case are prohibited from directly or

              indirectly providing access to, or otherwise disclosing the contents of

              these materials to anyone not working on the defense of this criminal

              case, or from otherwise making use of the materials in a manner

              unrelated to the defense of this criminal case. Authorized use of

              materials related to the defense of this criminal case shall include

              showing and discussing such materials with government and defense

              witnesses, and the defendant.




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    3.      Defendants, their attorneys, and all other individuals or entities who

            receive materials in this case shall maintain all materials received

            from the government in a manner consistent with the terms of this

            protective order. Materials produced to the defense shall be stored in a

            secure manner by defense counsel in boxes, files or folders marked

            “UNDER PROTECTIVE ORDER—DO NOT DISCLOSE.” Electronic

            materials produced to the defense and printouts obtained from

            electronic materials shall be handled in the same manner.

    4.      Defendants and their attorneys are required to give a copy of this

            protective order to all individuals or entities engaged or consulted by

            defense counsel in preparation of trial in this case. A knowing and

            willful violation of this protective order by any defendant, their

            attorneys, or others may result in contempt of court proceeding or

            other civil or criminal sanctions.

    5.      Within two years of the conclusion of this case, including all related

            appeals, all documents produced pursuant to this protective order, and

            all copies thereof (other than exhibits of the Court), shall be returned

            to the United States Attorney’s Office. Alternatively, the defendants’

            attorneys may inform the United States Attorney’s Office in writing

            that all such copies have been destroyed.




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     6.      The provisions of this order governing disclosure and use of the

             documents shall not terminate at the conclusion of this criminal

             prosecution.

                                  CONCLUSION

     Based on the above, the Government respectfully requests that the Court

grant the requested motion.



     Respectfully submitted this 31st day of August, 2018.



                                           BART M. DAVIS
                                           UNITED STATES ATTORNEY
                                           By:


                                           /s/ Katherine L. Horwitz
                                           KATHERINE L. HORWITZ
                                           Assistant United States Attorney




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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 31, 2018, the foregoing

GOVERNMENT’S MOTION FOR PROTECTIVE ORDER was electronically filed

with the Clerk of the Court using the CM/ECF system, and that a copy was served

on the following parties or counsel by ECF filing:

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